Case 5:14-cv-OO479-SI\/|H-I\/|LH Document 1 Filed 03/03/14 Page 1 of 4 Page|D #: 1

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA
ADDIE HARPER, : CIVIL ACTION NUMBER:
Plaintiff, :

- Rernoved from the First Judicial District
VERSUS : Court of Caddo Parish, Louisiana,

= ease NO. 573,940-€
BIOMEDICAL APPLICATIONS OF
LOUISIANA, LLC, dba, SHREVEPORT

REGIONAL DIALYSIS CENTER,
Defendant.

NOTICE OF REMOVAL

NOW fNTO COURT, through undersigned counsel, comes Bio-l\/Iedical Applications of
Louisiana, LLC (“BMA”), defendant in this civil action before the First Judicial District Court of
Caddo Parish, Louisiana, Where it is currently pending as case number 573,940-€, Who hereby
gives notice of the removal of this civil action to the Um'ted States District Court for the Western
District of Louisiana, Shreveport Division.

Bl\/IA submits this Notice of Removal pursuant to 28 U.S.C. § 1332(a) on the grounds
that there is diversity of citizenship between the parties to this litigation and the amount in
controversy exceeds the jurisdictional amount of 375,000.00. ln support of this removal, BMA
states as folloWs:

I. INTRODUCTION

On January 9, 2014, plaintiff Addie Harper (“Plaintiff’) filed a Petition for Damages
against BMA in the First Judicial District Court in the Parish of Caddo. Also named as a
codefendant was an “Unknown Ernployee” of BMA. The Petition Was served on BMA on
February 4, 2014. As of the filing of this Notice of Removal, the Petition has not been served on
the unnamed codefendant Plaintiff`s claims arise from an injury she sustained vvhile receiving
dialysis treatment at BMA on February 4, 2013. Pet. M 3-5. Plaintiff declares herself to be a

resident of Louisiana. Id., p. 1.
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Case 5:14-cv-OO479-SI\/|H-I\/|LH Document 1 Filed 03/03/14 Page 2 of 4 Page|D #: 2

II. REMOVAL IS TIMELY.

Plaintiff`s Petition was served on BMA on February 4, 2014. This Notice of Removal is
being filed within thirty (30) days of service in accordance with 28 U.S.C. § l446(b). True and
correct copies of the Petition and “all process, pleadings, and orders served upon” BMA in the
state court action are attached hereto in globe as Exhibit “A,” as required by 28 U.S.C. §
1446(a).

HI. THIS COURT HAS ORIGINAL SUBJECT MATTER JURISDICTION BASED
ON 28 U.S.C. § 1332(a).

A. DIVERSITY OF CITIZENSHIP EXISTS BETWEEN 'I`HE PARTIES.

“The district courts shall have original jurisdiction of all civil actions where the matter in
controversy exceeds the sum or value of $75,00(), exclusive of interest and costs, and is between
citizens of different states.” 28 U.S.C. § l332(a)(l). Plaintiff is a citizen of Louisiana. Pet.J p. l.
BMA is a Delaware limited liability company with its principal place of business in
Massachusetts. For diversity purposes, the citizenship of a limited liability company is
“deterrnined by the citizenship of all of its members.” Harvey v. Grey Wolf Dril!ing Co., 542
5.3d 1077, 1080 (5th Cir. 2008). Here, the sole member of BMA is Bio-Medical Applications of
Maryland, lnc. (“BMA-Maryland”). BMA-Maryland is a Delaware corporation with its
principal place of business in Massachusetts, which makes it a citizen of both states. 28 U.S.C. §
1332(c)(l). Therefore, for the purpose of diversity jurisdiction, BMA is a citizen of Delaware
and Massachusetts. Furtherrnore, BMA is not now, and was not at the time of the filing of
Plaintiff`s Petition and all intervening times, a citizen of Louisiana.

Because the remaining codefendant is unidentified, the citizenship of said codefendant is
disregarded in determining whether this action is removable on the basis of jurisdiction under
section 1332(a). 28 U.S.C. § l44l(b)(1). Accordingly, the diversity of citizenship requirement
of section l332(a) is met.

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Case 5:14-cv-OO479-S|\/|H-I\/|LH Document 1 Filed 03/03/14 Page 3 of 4 Page|D #: 3

B. THE AMOUNT IN CoNrRovERsY stEEDS $75,000.

Although Plaintiff does not specify in her Petition the amount of damages she seeks, it is
“facially apparent from the Plaintiff’s original petition that the claimed damages exceed []
$75,000.” Gebbia v. Wal-Marl Srores, Inc., 233 F.3d 880, 882-883 (Sth Cir. 2000) (“The
defendant may prove [the amount in controversy] by demonstrating that the claims are likely
above $75,000 in sum or value, or by setting forth the facts in controversy that support a finding
of the requisite amount.”); accord Grijj‘in v. Ga. GulfLake Charles, LLC, 562 F.Supp.2d 775,
778 (W.D. La. 2008).

In her Petition, Plaintiff alleges that she sustained injuries to her person, including her
knee and hip. Pet. ii 5. The Petition alleges that Plaintiff has already undergone knee surgery
and suffered a postoperative staph infection. Id., jj 5. Plaintiff further alleges future degenerative
post-traumatic arthritis, which will require a total knee replacement Ia’. Plaintiff seeks relief for
all past, present and future medical expenses, physical pain and suffering, loss of enjoyment of
life, emotional distress, mental anguish, humiliation and embarrassment ]d., ii 6. Therefore, it is
clear from the face of Plaintiff`s Petition that she seeks damages in excess of $75,000.00_ Under
the Fifth Circuit’s governing standards, BMA has met its burden to prove that the amount in
controversy exceeds the jurisdictional amount. See Gebbz`a, 223 F.3d at 882-884.

IV. ALL PROCEDURAL REOUIREMENTS FOR REMOVAL ARE SATISFIED.

As of the filing of this action, the unnamed codefendant has not been “properly joined
and served,” and therefore, the consent of said codefendant is not required 28 U.S.C. §
1446(b)(2)(A). Furtherrnore, removal to the United States District Court for the Western District
of Louisiana, Shreveport Division, is proper because it embraces the First Judicial District Court
of the Parish of Caddo, Louisiana, where the original action is pending. 28 U.S.C. §§ l44l(a),

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Case 5:14-cv-OO479-S|\/|H-I\/|LH Document 1 Filed 03/03/14 Page 4 of 4 Page|D #: 4

As required by 28 U.S.C. § 1446(d), BMA will promptly file a Notice of Rernoval to
State Court Clerk, with a copy of this Notice of Removal attached, with the clerk of the First
Judicial District Court of Caddo ParishJ Louisiana. A copy of the Notice of Removal to State
Court Clerk is attached hereto as Exhibit “B.” If any question arises as to the propriety of the
removal of this action, Bl\/[A requests the opportunity to submit a brief and oral argument and to
conduct discovery in support of its position that removal is proper.

Respectfully submitted,

TAYLOR, PORTER, BROOKS & PHILLIPS L.L.P.

BY: /s/ John Stone Campbell III

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Atrorneysfor Bio-Medica[ A`pplicarions ofLouz'sz'ana, LLC
CERTIFICATE OF SERVICE
The undersigned hereby certifies that on this date, the foregoing Notice of Removal was
electronically filed with the Clerk of Court using the CM/ECF system, and also served via
United States mail, postage prepaid, to Plaintiff’s counsel of record at the following address:

Stephen T. Collins
4340 Youree Dr.
Shreveport, LA 71105

Baton Rouge, Louisiana, this 3rd day of March, 2014.

/S/ John Stone Campbell III
John Stone Campbell III

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